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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

DUWAN LOCKETT,                               )
                                             )
       Plaintiff,                            )
                                             )
               v.                            )        Case No. 2:16-cv-170 (AWA/LRL)
                                             )
BBL ODU LLC                                  )
D/B/A SPRINGHILL SUITES                      )
BY MARRIOT                                   )
                                             )
       Defendant.                            )
                                             )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS STIPULATED by and between the parties named in this action through their

respective counsel that the above-captioned matter be and is hereby dismissed with prejudice

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. The parties shall bear

their own respective costs and attorneys’ fees.



SEEN AND AGREED:




By:    /s/                                            By:             /s/
 Joshua Erlich (VA Bar No. 81298)                     Carrie Harris (VSB #76817)
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 Counsel for Plaintiff                             Counsel for Defendant

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                                CERTIFICATE OF SERVICE

      I hereby certify that, on April 18, 2017, I sent the foregoing via electronic notification on
the CM/ECF system to the following:



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                                                            /s/
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